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                                #:45412


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  8
                             UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
11
12    JENNY LISETTE FLORES, et al.,        No. CV 85-4544-DMG-AGRx
13          Plaintiffs,                     NOTICE OF MOTION AND MOTION FOR
14                                          AWARD OF ATTORNEYS’ FEES
      v.
15                                         Hearing: January 28, 2022
      MERRICK GARLAND, Attorney General of
16                                         Time: 9:30 a.m.
      the United States, et al.,
                                           Hon. Dolly M. Gee
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18          Defendants.
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                                                      NOTICE OF MOTION AND MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                       CV 85-4544-DMG-AGRX
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  1         PLEASE TAKE NOTICE that on January 28, 2022, at 9:30 a.m., or as soon
  2   thereafter as counsel may be heard, Plaintiffs will and do hereby move the Court
  3   for an award of attorneys’ fees under the Equal Access to Justice Act, 28 U.S.C.
  4   § 2412(d) (“EAJA”), for fees incurred in compelling Defendants to comply with
  5   the Flores Settlement as to class members detained pursuant to Title 42 of the U.S.
  6   Code.1
  7         Plaintiffs allege that (1) they are the prevailing party; (2) the position of
  8   Defendants, both before and throughout this litigation, was without substantial
  9   justification; and (3) no special circumstances make an award of fees unjust. The
10    motion is based on the annexed Memorandum of Points and Authorities, Plaintiffs’
11    itemized statements and other supporting exhibits filed concurrently herewith, and
12    the record of proceedings in this case.
13          Pursuant to Local Rule 7-3, Plaintiffs sent Defendants their fee request on
14    October 14, 2021 and the parties met and conferred on October 19, 2021.
15
16    Dated: October 22, 2021          CENTER FOR HUMAN RIGHTS AND
17                                     CONSTITUTIONAL LAW
                                       Carlos R. Holguín
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19                                     NATIONAL CENTER FOR YOUTH LAW
                                       Neha Desai
20                                     Melissa Adamson
21                                     Mishan Wroe
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        Plaintiffs believe the instant fee request would be most efficiently resolved via
23
      mediation under the supervision of the Ninth Circuit Court’s Mediation Office.
24    Plaintiffs have filed a fee application with the Ninth Circuit and plan to pursue
      mediation through that court’s Mediation Office. Should mediation prove
25
      unsuccessful, this Court’s greater familiarity with the issues herein would place it in
26    a better position to decide a contested fee application. If mediation is successful,
      Plaintiffs will immediately inform this Court and withdraw the instant motion.
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                                                -1-        NOTICE OF MOTION AND MOTION FOR AWARD OF ATTORNEYS’ FEES
                                                                                             CV 85-4544-DMG-AGRX
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                                #:45415


  1                               Diane de Gramont

  2                               CHILDREN’S RIGHTS
  3                               Leecia Welch

  4
                                  /s/ Mishan Wroe
  5                               Mishan Wroe
  6                               One of the Attorneys for Plaintiffs
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